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           EXHIBIT D
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                                                                             TEMPUS AND OUF
                                            Estimated LIFO Losses in Tesla, Inc. (TSLA) - Class period: 8/7/2018 - 8/17/2018
SECURITY                  TRANSACTION                                                                                       ESTIMATED LOSSES or
NAME          CUSIP       TYPE          TRADE DATE          SHARES           PRICE PER SHARE    COSTS or (PROCEEDS)              (PROFIT)            ACCOUNT
TESLA, INC.
Tesla, Inc.   88160R101   Sold          5/2/2018                  (37,440)          $299.0651            ($11,196,997.34)                            TEMPUS
Tesla, Inc.   88160R101   Sold          5/2/2018                     (675)          $299.0651               ($201,868.94)                            TEMPUS
Tesla, Inc.   88160R101   Sold          5/3/2018                  (92,454)          $277.4724            ($25,653,433.27)                            TEMPUS
Tesla, Inc.   88160R101   Sold          5/3/2018                   (1,349)          $277.4724               ($374,310.27)                            TEMPUS
Tesla, Inc.   88160R101   Sold          7/31/2018                  (7,660)          $296.2556             ($2,269,317.90)                            TEMPUS
Tesla, Inc.   88160R101   Sold          7/31/2018                 (26,120)          $296.2556             ($7,738,196.27)                            TEMPUS
                                                                (165,698)                               ($47,434,123.99)

Tesla, Inc.   88160R101   Bought        8/7/2018                  35,526            $375.9503            $13,356,010.36                              TEMPUS
Tesla, Inc.   88160R101   Bought        8/7/2018                 128,135            $375.9503            $48,172,391.69                              TEMPUS
Tesla, Inc.   88160R101   Bought        8/7/2018                   2,037            $375.9503               $765,810.76                              TEMPUS
                                                                 165,698                                 $62,294,212.81             $14,860,088.82

Tesla, Inc.   88160R101   Sold          5/2/2018                   (2,707)          $299.0651               ($809,569.23)                            UNIQUE EQUITY MASTER
Tesla, Inc.   88160R101   Sold          5/3/2018                   (6,197)          $277.4724             ($1,719,496.46)                            UNIQUE EQUITY MASTER
Tesla, Inc.   88160R101   Sold          7/31/2018                  (2,420)          $296.2556               ($716,938.55)                            UNIQUE EQUITY MASTER
                                                                 (11,324)                                ($3,246,004.24)

Tesla, Inc.   88160R101   Bought        8/7/2018                  11,324            $375.9503             $4,257,261.20                              UNIQUE EQUITY MASTER
                                                                  11,324                                  $4,257,261.20              $1,011,256.96

                                                                                                   Total Estimated Losses           $15,871,345.77
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